   Case 2:17-cv-02656-DDC-KGS Document 1-1 Filed 11/16/17 Page 1 of 10


Cl Corporation                                                                                               Service of Process
                                                                                                             Transmittal
                                                                                                             10/30/2017

                                                                                                             CT Log Number 532211245
TO           Jason Engel      Senior Vice President                 General            Counsel

             Experian
             475   Anton    Blvd   Bldg
             Costa   Mesa CA       92626       7037




RE           Process Served               in   Kansas

FOR          Experian      Information Solutions Inc                   Domestic State             OH




ENCLOSED      ARE COPIES      OF   LEGAL PROCESS            RECEIVED          BY   THE STATUTORY          AGENT OF THE ABOVE COMPANY                                        AS FOLLOWS


TITLE   OF   ACTION                                   Anthony      McLin        Pltf    vs Experian Information            Solutions               Inc         et     at      Dfts


DOCUMENTS          SERVED                             Summonses          Petition



COURTIAGENCY                                          Wyandotte County District              Court KS
                                                      Case 2047LM004824


NATURE OF ACTION                                      Violations    of   the     Fair Credit      Reporting Act

ON WHOM PROCESS            WAS SERVED                 The Corporation Company Inc Topeka                            KS


DATE    AND HOUR OF SERVICE                           By   Certified     Mail      on 10/30/2017         postmarked        Not           Post      Marked

JURISDICTION       SERVED                             Kansas


APPEARANCE         OR ANSWER       DUE                11/27/2017         at   0900 a.m

ATrORNEYS          SENDERS                            A.J    Stecklein

                                                      Stecklein  Rapp
                                                      748 Ann Avenue
                                                      Kansas City KS 66101
                                                      913-371 -0727


ACTION    ITEMS                                       SOP Papers with Transmittal                  via    UPS Next Day             Air         Z0399EX01 23750264



SIGNED                                                The Corporation Company                    Inc
ADDRESS                                               112 S.W 7th Street
                                                      Suite   3C

                                                      Topeka       KS 66603
TELEPHONE                                             954-473-5503




                                                                                                                                              EXHIBIT
                                                                                                                                                                                        exhibitsticker.com




                                                                                                                                                             A



                                                                                                              Page         of                 JP


                                                                                                              Information          displayed       on   this    transmittal        is     for                CT

                                                                                                              Corporations           record    keeping         purposes       only      and                  is    provided      to

                                                                                                              the   recipient        for quick      reference          This   information                            does      not

                                                                                                              constitute           legal    opinion     as     to the   nature          of              action           the

                                                                                                              amount     of   damages           the     answer date           or   any                  information

                                                                                                              contained       in    the documents themselves                       Recipient                        is



                                                                                                              responsible          for   interpreting        said   documents                and                  for taking

                                                                                                              appropriate          action      signatures        on   certified         mail                  receipts

                                                                                                              confirm    receipt         of   package        only     not   contents
Case 2:17-cv-02656-DDC-KGS Document 1-1 Filed 11/16/17 Page 2 of 10
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                                                                                                         Inc
                                                                                   Information Solutions
                                                                       Expelian
                                                                                                              Inc
                                                                       RA    The Corporation Company

                                                                                                   Suite 3C
                                                                       112   SW   Seventh Street


                                                                                  Kansas 66603
                                                                       Topeka
                           Case 2:17-cv-02656-DDC-KGS Document 1-1 Filed 11/16/17 Page 3 of 10

                                                                                                     ELECTRONICALLY                      FILED
                                                                                                               2017 Oct 23        AM 1040
Antony McLin                                                                         CLERK OF THE WYANDOTTE                       COUNTY DISTRICT COURT
                                                                                               CASE NUMBER  2017-LM-004824
vs
                                                                                                       Division          II
Experian       Information         Solutiohs           Inc et al

                                                                                         SUMMONS




To the above-named                 Defendant/Respondent




                                                             Experian Information               Solutions      Inc


                                                             RA     THE CORPORATION                    COMPANY
                                                             112    Sw 7TH           STREET SUITE 3C

                                                             Topeka KS               66603



You are hereby             notified      that      lawsuit    commenced              against   you   will   be on     this   courts docket         at   0900      AM       on 11/27/2017

to   be held    at the      following      location




                                                             Wyandotte          County    District    Court


                                                             Wyandotte          County    District    Court

                                                             710          7th   St

                                                             Kansas City KS 66101



If
     you do    not    appear before             this   court or    file   an answer at such time judgment by default                        will    be taken against you for the

relief     demanded         in   the    petition




If
     you   intend     to   appear at such time and dispute                      the petition     you must      file    an answer with the clerk of                  this   court within   14

days       thereafter




If
     you are    not    represented          by an attorney the answer shall be signed by you                                  The answer          shall   state the        following




      what    the dispute         is


      any    affirmative         defenses       you have to the claim and

      your or your attorneys current address                               phone number          fax   phone number and                e-mail      address




You must        also       promptly send               copy of your answer to the              plaintiffs    attorney        or the   plaintiff    if   the   plaintiff    has no attorney




Clerk of the         District     Court

Electronically         signed          on 10/23/2017         112646 AM



Documents             to   be served with the              Summons
PLE        Petition    Petition
                             Case 2:17-cv-02656-DDC-KGS Document 1-1 Filed 11/16/17 Page 4 of 10

                                                                                                        ELECTRONICALLYFILED
                                                                                                           23AM 1040
                                                                                                                 2017 Oct
Antony McLin                                                                         CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                                                               CASE NUMBER   2017-LM-004824
vs
                                                     Inc et al                                            Division             11
Experian Information                 Sblutions


                                                                                            SUMMONS




To the above-named                   Defendant/Respondent




                                                             Experian       Information            Solutions      Inc

                                                             RA     THE CORPORATION                       COMPANY
                                                             112    SW     7TH STREET SUITE 3C

                                                             Topeka        KS    66603




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to   be    held   at    the following       location




                                                             Wyandotte          County       District   Court

                                                             Wyandotte          County       District   Court

                                                             710          7th   St

                                                             Kansas City KS 66101



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relief     demanded           in   the petition




If
     you   intend       to   appear at such time and dispute the petition you must                                file    an    answer with the clerk of this court within                 14


days       thereafter




If
     you are      not    represented        by an attorney the answer shall be signed                            by you-            The answer       shall   state the following




      what the         dispute      is


      any    affirmative           defenses    you have to the claim and

      your or your attorneys current address                               phone number             fax   phone number and                e-mail      address



You must          also       promptly    send        copy of your answer               to   the   plaintiffs    attorney        or the   plaintiff    if   the   plaintiff   has no attorney




                                    .3-
Clerk of the           District     Court

Electronically           signed       on 10/23/2017          112646         AM


Documents               to   be served with the              Summons
PLE        Petition      Petition
          Case 2:17-cv-02656-DDC-KGS Document 1-1 Filed 11/16/17 Page 5 of 10

                                                                          ELECTRONICALLY                            FILED
                                                                                    2017 Oct 23     AM 1040
                                                             CLERK OF THE WYANDOTTE                 COUNTY
                                                                                              DISTRICT                               COURT
                                                                       CASE NUMBER  2017-LM-004824


                            In the District Court of Wyandotte                           County Kansas
                                                         Limited Actions       Division




     Anthony McLin
                                                           Plaintiff

                                                                                     Case      Number               2017-LM-004824

     vs

                                                                                         Division    11

     Experian     Information                  Solutions      Inc      Trans

     Union       LLC             and          Equifax        Information

     Services    LLC

                                                           Defendants




                                                                PETITION

           COMES       NOW             Plaintiff   Anthony     McLin     by and through counsel            and       for Plaintiffs    causes



of action     against Defendants                states   as follows



                      This       is    an action         for damages     brought    by    an    individual      consumer        against      the



Defendants      for   violations             of the Fair Credit Reporting          Act hereafter      FCRA            15 u.s    .C    1681    ci




seq


                      Jurisdiction of this Courtarises under                   15 U.S.C        l68lpand 28 U.S.C                 1331

                      Venue           lies   properly in this district    pursuant       to   28 U.S.C         1391b

                      Plaintiff         is    resident of Kansas



                      Defendant              Equifax      Information    Systems     LLC Equifax               is      Delaware       Limited



Liability     Company


                      At   all     times relevant         hereto Defendant      Equifax        was and    is   engaged     in   the business



of   credit   reporting      all      within Kansas
        Case 2:17-cv-02656-DDC-KGS Document 1-1 Filed 11/16/17 Page 6 of 10




                    Defendant             Trans Union        LLC Trans Union              is   an     Illinois     corporation



                     At    all    times relevant           hereto Defendant            Trans        Union        was and      is   engaged    in    the



business of credit        reporting            all   within Kansas



                     Defendant Experian Information Solutions Inc                                is       Delaware        corporation



            10       At   all    times relevant hereto Defendant                    Experian        was and        is   engaged    in   the business



of   credit   reporting     all    within       Kansas


            11       On June 18 2014                   Plaintiff    petitioned      for relief      in   Chapter        13 of the United       States



Bankruptcy         Code    in    case number            14-21446        in   Kansas   District      Court



            12       Included            in   the    schedules filed in case          number        14-21446 were             certain     unsecured



accounts       and judgments



              13     On     August            21 2014        Chapter         13   plan was confirmed by the                  Bankruptcy       Court


Plaintiff     is and has been current on the Chapter                          13 payments



              14     As          result       of the August        21    2014 confirmation                the    Plaintiff    as debtor      and his


creditors      are currently bound by                   confirmed Chapter           13 Bankruptcy                Plan



              15     The        accounts        and judgments        listed in the     schedules filed             in   case number         14-21446



were accounted           for in    the plan and the creditors                were   notified     of      their   status



              16     Thc plan allowed                 both   for     stay of collection        and prescribed             certain       treatment   for




various unsecured           accounts



              17     The        filing    of case number           14-21446 and the confirmation of the plan on August                              21

2014 changed        the status of the accounts                and judgments           listed   in   the schedules filed            in   case number



14-2 1446



              18     Thereafter               Defendants     reported        some of    those accounts              has having            $0 balance


and included        in   bankruptcy            while allowing        other accounts       of the same             status to   report      as having
         Case 2:17-cv-02656-DDC-KGS Document 1-1 Filed 11/16/17 Page 7 of 10




past due balanbe



          19          Therefore          Defendants          reported        both       the    bankruptcy        filing      and       the   accurate




reporting of some creditors but allowing other                          debts          of the same        status to    remain misreported           in




the remainder of the credit report as not included                           in   the bankruptcy



          20          Defendant Trans Union also reported judgments                                  in   the public       records section of      its




credit   report that    it   failed    to    update    to reflect     the current status of the judgments



          21          Defendants have              no reasonable procedures                   to   assure consistent         and non-confusing



reporting      as   required    by the       FCRA

          22          Defendants            have    notice    of Plaintiffs             bankruptcy           because       the   majority      of the


tradelines   on Plaintiffs            credit    report evidence        an included in bankruptcy                      notation        and Plaintiffs



bankruptcy      is   reported     in    the     public records           section         of her     credit    report       The    Defendants       are



aware    that this    notation        produces         uniform change             to   every tradeline        reported on Plaintiffs credit



report by virtue of the           bankruptcy           process


          23          The     change           specifically      is   that      no     tradeline      included        in   the    bankruptcy       can



accurately     be described as           in     collections



          24          Defendants            have      allowed     certain         tradelines         to   show    as       past       due    and   in


collections         wit/iou     also        referencing      Plaintiffs           bankruptcy          creating         materially        misleading



impression that those tradclines                   are not included        in   Plaintiffs bankruptcy            and are         in   fact presently



duc and owing



          25          Effectively then             Defendants are leaving outdated                        information on Plaintiffs credit




report creating        an    internal       inconsistency       on Plaintiffs           credit     report



          26          Although          many       tradelines       were      properly         updated        several       were      notand       the




resulting    credit    report    is   confusing        to   whomever         accesses         the report
         Case 2:17-cv-02656-DDC-KGS Document 1-1 Filed 11/16/17 Page 8 of 10




           27            Dêfenàants            have    therefore       failed      to    accurately        consistently            and     clearly       report



tradelines       after    notice       of an occurrence              wherein            uniform     change          to   the    cntirety    of Plaintiffs



credit    report    is    expected          Defendants              misreporting of inconsistent                    credit      information and           their




failure    to   properly update             tradelines        to    conform     to      readily available           public records demonstrates



that   Defendants          lack reasonable procedures to assure                           maximum          possible        accuracy       of information


contained in Plaintiffs                 credit
                                                  report



           28            Given the         fluidity     of    the    Defendants           procedures           of relying on the furnishers to



unilaterally       determine           their   status   these incorrect            entries       are subject to change



           29            Given the         fluidity     of    the   Defendants            procedures       of relying on            the    furnishers          the



reports    are internally inconsistent                  with the reports           own      entries      and   is   materially misleading



                                         Count          Violations           of the Fair Credit Reporting                         Act


           Comes now                 Plaintiff   and    for    Count         against       the    Defendants             states   and alleges        to   the



Court as follows



           30            Plaintiff      incorporates the foregoing                   paragraphs       as though the same were set forth at



length herein



           31            At    all    times pertinent         hereto Equifax regularly engaged                            in   whole or     in    part    in   the



practice        of assembling             or     evaluating         consumer            credit    information            or    other      information           on



                                 purpose of furnishing cbnsumer                                                     parties and
consumers         for    the
                                                                                         reports    to   third                            which    uses any



means      or facility         of     interstate      commerce         for   the     purpose of preparing                  or     furnishing      consumer



reports



           32            At    all    times pertinent         hereto Trans Union                   LLC     regularly engaged               in   whole or        in




part in    the practice of assembling                   or evaluating         consumer            credit   information or other                 information



on eonsumcrs             for   the    purpose of furnishing consumer                       reports to third parties and which                        uses any
          Case 2:17-cv-02656-DDC-KGS Document 1-1 Filed 11/16/17 Page 9 of 10




means or facilit                        interstate     commerce         for    the   purpose         of preparing         or       furnishing consumer



reports



              33           At    all    times pertinent       hereto Experian               regularly engaged            in    whole or       in part in       the



practice        of assembling               or    evaluating      consumer            credit       information          or     other    information                on


                                   purpose of furnishing
consumers            for   the                                      consumer               reports to     third      parties       and which           uses any



means         or facility        of     interstate     commerce         for    the    purpose of preparing or furnishing                               consumer



reports



              34           At    all    times pertinent       hereto the       Plaintiff         Anthony         MeLin        is     consumer             as that



term     is   defined      by 15 U.S.C                1681ac

              35           At    all    times pertinent       hereto the above-mentioned                       credit   reports were written oral



or   other       communication                  of any     information          by          consumer          reporting        agency       bearing           on


consumers              credit          worthiness       credit    standing           credit      capacity       character           general        reputation



personal characteristics                    or   mode of       living    which        is   used or expected             to    be used or collected                 in




whole or        in
                     part for          the purpose of serving as               factor       in   establishing        the consumers eligibility                 for



credit    or insurance to be used primarily for personal family or household                                                  purposes           employment



purposes         or any other purpose authorized                        under IS           U.S.C 1681



              36           Pursuant to           15   U.S.C      1681n        and     IS   U.S.C 168lo Defendants                       are liable to the



Plaintiff        for    willfully         and     negligently      failing       to    comply           with    thc     requirements             imposed           on



consumer             reporting          agencies        of information           pursuant          to    15    U.S.C           1681    eb        iii
                                                                                                                                                        assuring



reasonable           procedures            to    assure    maximum             possible          accuracy       to    prevent        such        reporting         of


inaccurate         information in Plainti IFs reports



              37           The         conduct        of Defendants           were          direct      and    proximate cause               as        well   as




substantial          factor       in    bringing about the        serious injuries actual                 damages and harm                  to   the Plaintiff
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that are   outlindd   inbr   fully   above and as           result Defendants         are liable to the Plaintiff for the full



amount of statutory        actual    and punitive     damages       along      with   the attorneys         fees   and   the   costs of




litigation   as well as such further relief as          may      be permitted by        law


           WHEREFORE            Plaintiff   seek    judgment        in    Plaintiffs        favor   and     damages      against   the



Defendants based on the following            requested relief



                  Actual     damages


                  Statutory     damages


                  Punitive    damages


                  Costs and      reasonable    attorneys          fees   pursuant      to    15   U.S.C     l68ln        and    1681o


and


                  Such other and further           relief   as   may be necessary           just and proper



                                                                         Respectfully       submitted




                                                                         By    /s/   A.J    Steeklein

                                                                         A.J   Stecklein   KS16330
                                                                         Michael      Rapp KS25702


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                                                                         Attorneys for Plaintiff
